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                  UNITED STATES COURT OF INTERNATIONAL TRADE
                       BEFORE GARY S. KATZMANN, JUDGE


                                              )
HISTEEL CO., LTD., AND                        )
KUKJE STEEL CO., LTD.,                        )
                                              )
                     Plaintiffs,              )
                                              )
                     v.                       )
                                              )
UNITED STATES,                                )
                                              )     Court No. 20-00146
                     Defendant,               )
                                              )
                     and                      )
                                              )
NUCOR TUBULAR PRODUCTS INC. AND               )
ATLAS TUBE AND SEARING INDUSTRIES             )
                                              )
                     Defendant-Intervenors.   )
                                              )


                                 REPLY BRIEF OF
                   HISTEEL CO., LTD. AND KUKJE STEEL CO., LTD.


                                   PUBLIC VERSION

                      PROPRIETARY INFORMATION SUBJECT TO
                 PROTECTIVE ORDER DELETED FROM PAGES 20 AND 22



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April 13, 2021
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                      UNITED STATES COURT OF INTERNATIONAL TRADE
                           BEFORE GARY S. KATZMANN, JUDGE



                                                   )
HISTEEL CO., LTD. AND                              )
KUKJE STEEL CO., LTD.,                             )
                                                   )
                        Plaintiffs,                )
                                                   )
                         v.                        )
                                                   )
UNITED STATES,                                     )
                                                   )     Court No. 20-00146
                        Defendant,                 )
                                                   )
                       and                         )
                                                   )
NUCOR TUBULAR PRODUCTS INC. AND                    )
ATLAS TUBE AND SEARING INDUSTRIES                  )
                                                   )
                        Defendant-Intervenors.     )
                                                   )


                                     REPLY BRIEF OF
                       HISTEEL CO., LTD. AND KUKJE STEEL CO., LTD.

       This reply brief is submitted on behalf of HiSteel Co., Ltd. (“HiSteel”) and Kukje

 Steel Co., Ltd. (“Kukje”) (collectively, “Plaintiffs”) in reply to the Response Briefs

 submitted by Defendant and Defendant-Intervenors in the appeal of the final determination

 by the U.S. Department of Commerce (“Commerce”) in the second administrative review

 of the antidumping order on Heavy Walled Rectangular Welded Carbon Steel Pipes and

 Tubes (“HWR2”) from the Republic of Korea. 1



 1
  See Defendant’s Response to Plaintiff’s Motion of Judgment on the Agency Record,
 March 16, 2021 (“Defendant’s Rebuttal”). See also Nucor Tubular Products, Inc.’s
 Response to 56.2 Motion For Judgment upon the Agency Record, March 16, 2021
                                                           (footnote continued on following page)
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                                           ARGUMENT

       A.   As this Court Has Found Repeatedly, the Statute
            Does Not Permit Commerce to Make a “PMS”
            Adjustment for Purposes of the Sales-Below-Cost Test

       The statutory requirements concerning the calculation of constructed value are set

forth in 19 U.S.C. § 1677b(e). That provision explicitly permits Commerce to make an

adjustment to constructed value when it finds that a particular market situation (“PMS”)

exists “such that the cost of materials and fabrication or other processing of any kind does

not accurately reflect the cost of production in the ordinary course of trade.” 2

Significantly, the authorization to make such a PMS adjustment is found only in the

statutory provision concerning the calculation of constructed value. There is no such

authorization in the statutory provision concerning the calculation of cost of production for

purposes of the sales-below-cost test (in 19 U.S.C. § 1677b(b)), and there also is no such

authorization in the statutory provisions establishing common rules that apply to the

calculation of both constructed value and cost of production (in 19 U.S.C. § 1677b(f)).

       The plain language of the statute indicates, therefore, that a PMS adjustment may be

made when calculating constructed value, but not when calculating cost of production for

purposes of the sales-below-cost test. In view of the clear statutory language, this Court

has repeatedly held that Commerce is not permitted to make a PMS adjustment to cost for

purposes of the sales-below-cost test. 3



(footnote continued from previous page)
(“Nucor’s Rebuttal”); Defendant-Intervenors’ Memorandum in Response to Plaintiffs’
Motion For Judgment on the Agency Record, March 16, 2021 (“Atlas’s Rebuttal”).
2
    See 19 U.S.C. § 1677b(e).
3
 See Saha Thai Steel Pipe v. United States, 422 F. Supp. 3d 1363, 1371 (CIT 2019) (Judge
Choe-Groves); Husteel v. United States, 426 F. Supp. 3d 1376, 1383–89 (CIT 2020)
                                                          (footnote continued on following page)

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       In their rebuttal briefs, Defendant and Defendant-Intervenors nevertheless ask the

Court to overturn its own previous decision and the decisions by other judges of this Court

and rule that Commerce has the authority to make PMS adjustments in the context of the

sales-below-cost test. In this regard, they argue: (1) that the Court should defer to

Commerce because statutory language is not clear as to whether such an adjustment is

permitted,4 (2) that Commerce is permitted to make such an adjustment pursuant to its

discretion to use “‘any’ alternative cost calculation methodology if it determines that a

‘particular market situation exists such that the cost of materials . . . does not accurately

reflect the cost of production in the ordinary course of trade,’” 5 and (3) that such

adjustments are needed to effectuate the overall purpose of to address distortions

associated an alleged PMS.6 However, these arguments simply repeat contentions that

were addressed and rejected in this Court’s prior decisions.

       For example, in the decision concerning the appeal of the first review of the

heavy-walled rectangular pipe case (“HWR1”), the Court specifically found that “PMS

determinations made under TPEA Section 504 do not authorize Commerce to make PMS

adjustments outside the scope of a price-to-constructed value calculation.” 7 The Court also

found that Commerce’s reliance on statutory language permitting the use of “any”

(footnote continued from previous page)
(Judge Kelly); Borusan Mannesmann v. United States, 426 F. Supp. 3d 1395, 1411 (CIT
2020) (Judge Restani); Dong-A Steel v. United States, 475 F. Supp. 3d 1317, 1340 (CIT
2020) (Judge Katzmann).
4
    See Defendant’s Rebuttal at 19-22. See also, Nucor’s Rebuttal at 18-23.
5
  See Defendant’s Rebuttal at 20; see also, Nucor’s Rebuttal at 24-25 and Atlas’s Rebuttal
at 4-8.
6
    See Defendant’s Rebuttal at 20; Nucor’s Rebuttal at 18-23; and Atlas’s Rebuttal at 11.
7
    Dong-A Steel Company v. United States, 475 F.Supp.3d 1317, 1340 (2020).


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alternative cost calculation methodology is inapposite, because that language appears only

in the statutory provision addressing the calculation of constructed value, and not in any of

the statutory provisions addressing the calculation of cost for purposes of the sales-

below-cost test.8 And, finally, the Court has rejected the suggestion that Commerce be

permitted to make a PMS adjustment to cost for purposes of the sales-below-cost test in

order to effectuate the purpose of the TPEA. 9 As the Supreme Court has observed,

               Invocation of the “plain purpose” of legislation at the expense of the
               terms of the statute itself takes no account of the processes of
               compromise and, in the end, prevents the effectuation of congressional
               intent.10

          Neither Defendant nor Defendant-Intervenors have provided any new arguments for

reversing this Court’s extensive and comprehensive prior holdings on this issue. In these

circumstances, the Court should hold that Commerce acted unlawfully when it made a

PMS adjustment to cost for purposes of analyzing whether the home-market sales were

HiSteel and Kukje were below cost.

          B.   Commerce’s Determination that a PMS Existed Due to
               Distortions in the Korean Market for Hot-Rolled Steel
               Coils Was Not Supported by Substantial Evidence

               1. As Commerce Admitted, Its Finding of a PMS in
                  the Second HWR Review Was Based on the Same
                  Facts as Its PMS Finding in the First HWR Review

          In its final determination, Commerce explicitly stated that its assessment of the

alleged PMS affecting steel input costs in the review that is the subject of this appeal was

directly based on its finding in the first administrative review of this case (“HWR1”). As

8
    Id. at 1339.
9
    Id.
10
  Bd. of Governors of Fed. Reserve Sys. v. Dimension Fin. Corp., 474 U.S. 361, 373-74
(1986).


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Commerce explained, “the circumstances present during the instant review remained

largely unchanged from those in the 2016-2017 POR which led to the finding of a PMS in

Korea in HWR from Korea 2016-2017 Final Results.” 11

       Furthermore, Commerce’s determination in the first review of the HWR case was

explicitly grounded in its finding of a PMS in previous reviews of other antidumping

orders on Korean pipe products, including review of Oil Country Tubular Goods

(“OCTG”), Circular Welded Pipe (“CWP”), and Welded Line Pipe (“WLP”).12 In short,

Commerce’s determination at issue in this appeal is based on the same evidence and logic

that Commerce relied upon in previous reviews involving HWR, OCTG, CWP, and WLP

from Korea. And, as this Court is aware, Commerce’s findings of a PMS in those reviews

based on the same evidence and logic have been consistently rejected by this Court.

       Defendant nevertheless claims that the record in this proceeding is “more expansive”

than in HWR1 and suggests that Commerce’s PMS determination can be justified based on

the existence of more expansive record here.13 That claim is, however, contrary to

Commerce’s own statement that “the circumstances present during the instant review


11
   Issues and Decision Memorandum for the Preliminary Results of the 2017-2018
Administrative Review of the Antidumping Duty Order on Heavy Walled Rectangular
Welded Carbon Steel Pipes and Tubes from the Republic of Korea (Nov. 6, 2019), at
14-15 (hereinafter “Preliminary Decision Memo”) (Public Record (“PR”) 342). See also
Issues and Decision Memorandum for the Final Results of the 2017-2018 Administrative
Review of the Antidumping Duty Order on Heavy Walled Rectangular Welded Carbon
Steel Pipes and Tubes from the Republic of Korea, at 15 (July 6, 2020) (hereinafter “Final
I&D Memo”) (PR-395); Plaintiffs’ Initial Brief at 8-9.
12
  See Issues and Decision Memorandum for the Final Results of the 2016-2017
Administrative Review of the Antidumping Duty Order on Heavy Walled Rectangular
Welded Carbon Steel Pipes and Tubes from the Republic of Korea (May 20, 2019), at
12-13. See also Plaintiffs’ Initial Brief at 9.
13
     Defendant’s Rebuttal at 17


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remained largely unchanged from those in the 2016-2017 POR which led to the finding of

a PMS in Korea in HWR from Korea 2016-2017 Final Results.” 14 Significantly,

Defendant has not identified any “new” information or evidence in this review that fills the

evidentiary deficiencies that were found in HWR1. In these circumstances, the Court

should reach the same conclusion it reached in the appeal of HWR1 (and in the appeals of

the reviews of OCTG, CWP, and WLP from Korea), and find that Commerce’s finding

that a PMS existed with respect to hot-rolled coil (“HRC”) prices in Korea is not

supported by substantial evidence.

           2. Commerce’s Findings with Respect to the Four
              Individual Factors Considered in the PMS Analysis
              Are Not Supported by Substantial Evidence

                a.   Alleged Subsidies to Korean Steel Coil Producers

       Commerce’s PMS findings in prior reviews were based, in part, on its earlier

determination that the Korean steel coil producer POSCO received countervailable

subsidies of 58.68 percent. However, that rate was based on the application of total

adverse facts available to POSCO in an investigation that examined the 2014 calendar

year.15 But the subsidy rate from the original Hot-Rolled Coil investigation has now been

superseded. In its first review of the countervailing duty order on Hot-Rolled Coil (which

was based on information submitted by POSCO for its 2016 fiscal year, and not on total

adverse facts available), Commerce found that POSCO’s subsidy rate was only 0.54




14
     Preliminary Decision Memo, at 14-15 (PR-342).
15
  See Certain Hot-Rolled Steel Flat Products from the Republic of Korea, 81 Fed. Reg.
53439 (Aug. 12, 2016), and accompanying I&D Memo at 7 (Aug. 4, 2016).


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percent.16 The subsidy rate in that review for the other Korean steel producer (Hyundai

Steel) was found to be only 0.58 percent.17

       Defendant suggests that Commerce’s PMS finding properly relied on the existence of

these tiny subsidies to POSCO, because “these subsidies are present and part of the

cumulative effect that Commerce found existed as a particular market situation.” 18

Moreover, Defendant declared that “in determining whether a particular market situation

exists, Commerce is not required to measure the downstream benefit of subsidies to a

particular company or companies because Commerce is examining the impact on the

market of HRC as {a} whole, not the impact on each producer.” 19

       In this case, however, Commerce failed to examine (let alone prove) the impact of

such subsidies on the market of HRC as a whole. Moreover, beyond noting the existence

of subsidies, Commerce did not identify any evidence that the very small subsidies to

POSCO actually affected the price of hot-rolled coils in the Korean market. In this regard,

it is worth noting that the provisions of the countervailing duty statute concerning upstream

subsidies do not permit Commerce to assume that upstream subsidies affect downstream

prices. Instead, there must be a finding (based on evidence) of a competitive benefit to the

downstream producer.20 Tellingly, Defendant does not identify any statutory authority that

allows Commerce to assume a competitive benefit from upstream subsidies for purposes of


16
  See Certain Hot-Rolled Steel Flat Products from Korea, 84 Fed. Reg. 28461 (June 19,
2019) as amended by 84 Fed. Reg. 35,604 (July 24, 2019).
17
     Id.
18
     Defendant’s Rebuttal at 10 (citing Final I&D Memo at 15, 19) (emphasis added).
19
     Id. (citing Final I&D Memo at 19).
20
     See 19 U.S.C. § 1677-1(b)(1).


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a PMS determination, when the statute expressly forbids such an assumption in

countervailing duty cases.

                  b.    Alleged Strategic Alliances

       As explained in our initial brief, Commerce’s finding of strategic alliances in this case

was based on a single incident in which Korean producers (not including HiSteel and

Kukje) of a different product (line pipe) were found to have engaged in bid-rigging on

sales to a Korean government agency prior to January 2013. There was no evidence of

bid-rigging (or any other strategic alliances) involving HiSteel or Kukje, the Korean

producers of hot-rolled coils, or the current review period. 21

       Significantly, neither Defendant nor Defendant-Intervenors disputes this

characterization of the evidence relied upon by Commerce. Instead, they claim that the

pre-2013 conduct involving different companies and a different product is relevant because

“strategic alliances in the past may affect the future.” 22 But even if that assertion were

correct, it would mean, at most, that there might be a risk that Korean producers of line

pipe (not including HiSteel or Kukje) might collude again at some time in the future. It is

not evidence that the different Korean companies that produce hot-rolled coil engaged in

strategic alliances with HiSteel or Kukje or any other Korean producers of HWR to

manipulate hot-rolled coil prices. The suggestion that the behavior of all Korean

companies may be generalized from a single incident involving different companies and a

different product is a racist smear, not a reasoned conclusion based on substantial

evidence.


21
     See Plaintiffs’ Initial Brief at 15-16.
22
     See Defendant’s Rebuttal at 12.


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                   c.   Alleged Government Control of Electricity Prices

       As explained in our initial brief, Commerce has repeatedly examined claims that the

Korea government provided subsidies to Korean industrial companies through the

state-owned electricity company. It has also repeatedly found that Korean electricity

prices do not confer any subsidy benefit to industrial electricity users. 23 Despite those

repeated findings, Commerce concluded in this case that “{e}vidence on the record of this

review demonstrates that electricity rates were being subsidized … {and} … that there is

distortion present in the Korean electricity market.”24 However, Commerce made no

findings as to how or whether the allegedly subsidized electricity prices were “passed

through” from Korean hot-rolled coil producers to their downstream customers. Indeed,

Commerce itself admitted that it had no evidence that Korean producers of hot-rolled coils

or HWR actually received electricity at subsidized rates during the review period. 25

       Tellingly, neither Defendant nor Defendant-Intervenors have identified any evidence

that the allegedly subsidized electricity prices affected hot-rolled coil prices in the Korean

market. Instead, they suggest that Commerce is permitted to assume that upstream

subsidies automatically confer a competitive benefit on downstream customers even

though (as discussed above) the countervailing duty statute expressly forbids any such

assumption and even though there is no evidence of subsidies to producers of the upstream

hot-rolled coils in this case. That argument cannot be reconciled, however, with the




23
     See Plaintiff’s Initial Brief at 17.
24
     Final I&D Memo at 17 (PR-395).
25
     Id.


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statutory standard of review, which requires that Commerce’s factual determinations be

supported by substantial evidence.

                     d.   Alleged Impact of Chinese Imports on
                          Korean Prices for Hot-Rolled Coils

           Commerce’s PMS determination concluded that there was steel overcapacity in

China, that Korea was a leading destination for Chinese exports of hot-rolled steel, and that

import prices of HRC from China were generally lower than they were from the rest of the

world.26 Based on these circumstances, Commerce concluded that Chinese imports put

downward pressure on Korean hot-rolled coil prices, which resulted in a distortion in those

prices.27

           However, as noted in our initial brief, the evidence actually showed that Korean steel

prices were 22 percent higher in 2017 than in 2016, and even higher in 2018. 28 This

evidence is, in itself, a complete refutation of Commerce’s assumption that Korean steel

prices must have been falling due to increased Chinese imports. And, other evidence also

refuted Commerce’s assumption that Korean hot-rolled coil producers were being harmed

by the allegedly low-priced Chinese imports: In fact, the Korean hot-rolled-coil producer

POSCO reported increasing gross profits and operating profits in every year from 2014 to

2018 — despite fluctuations in Chinese and global capacity utilization over that period. 29

           Defendant attempts to explain away this evidence by asserting that the improving

financial results for Korean hot-rolled coil producers were a consequence of Korean


26
     Id.
27
     Id.
28
     See Plaintiffs’ Initial Brief at 19-20.
29
     Id.


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government subsidies.30 But they have not explained how the tiny amount of subsidies at

issue (which were found to be just above de minimis for POSCO and Hyundai Steel) would

have caused Korean steel prices to increase from 2016 to 2018. They also have not

explained how the tiny amount of subsidies could have resulted in increasing profits for

Korean steel producers — especially when Commerce’s more recent reviews have not

found any increases in the subsidies to Hyundai Steel or POSCO. 31 Instead, their argument

is, like Commerce’s determination, based entirely on speculation that the allegedly large

volume of imports from China into Korea might have distorted Korean hot-rolled-coil

prices. Such speculation is not substantial evidence, and it does not provide a basis for

upholding Commerce’s determination.

           3. Commerce’s Invocation of the “Totality of the
              Circumstances” Does Not Excuse It from Its Obligation
              to Make a Reasoned Determination Based on Evidence

       In the absence of any evidence that the factors identified by Commerce actually

affected hot-rolled coil prices in Korea, Defendant and Defendant-Intervenors contend that

Commerce’s PMS finding should still be upheld because Commerce relied not on any




30
     See Defendant’s Rebuttal at 12.
31
   In its recent determinations involving cold-rolled coils, Commerce has found overall
subsidies of 0.45 and 0.51 percent for Hyundai for the 2017 and 2018 reviews and overall
subsidies of 0.59 percent for POSCO for the 2017 review. See Cold-Rolled Steel Flat
Products from Korea, 85 Fed. Reg. 38361 (June 26, 2020) (2017 Review Period);
Cold-Rolled Steel Flat Products from Korea, 86 Fed. Reg. 7063 (Jan. 26, 2021) (2018
Review Period Preliminary Results). In its recent determination involving cut-to-length
steel plate, Commerce has found overall subsidies of 0.50 percent for Hyundai and 0.49
percent for POSCO. See Cut-to-Length Carbon-Quality Steel Plate from Korea, 85 Fed.
Reg. 84296 (Dec. 28, 2020) (2018 Review Period); Carbon and Alloy Steel Cut-to-Length
Plate from Korea, 86 Fed. Reg. 15184 (Mar. 22, 2021) (2018 Review Period).


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individual factor, but on the “totality of the circumstances” analysis. 32 In their view, the

phrase “totality of the circumstances” is a magical phrase — the legal equivalent of

abracadabra — that transforms leaden arguments into gold. But the law does not permit

that result.

       This Court has acknowledged that reliance on cumulative effects of multiple factors to

assess a PMS may be “reasonable in theory.” 33 However, the Court has emphasized that

an assessment of those cumulative effects must be grounded in actual evidence. As the

Court has explained,

            Although Commerce may rely on the cumulative effect of multiple
            distortions to arrive at a PMS determination, it cannot use that phrase
            to circumvent a meaningful review of the sufficiency of the record.34

In this case, there is no evidence that the four factors identified by Commerce worked

together to distort Korean prices for hot-rolled coils. There is no evidence, for example,

that Korean producers of hot-rolled coils banded together with one another or with Korean

pipe producers to lower Korean prices for hot-rolled coils in response to Chinese imports.

There is no evidence that the Korean coil producers lowered their prices as a result of the

tiny Korean government subsidies identified by Commerce or that those tiny subsidies

represented a response to an alleged global steel crisis. There is no evidence that the

government-owned Korean electricity supplier modified its electricity rates during the

current review period to allow Korean hot-rolled coil producers to compete with Chinese




32
  See Defendant’s Rebuttal at 15-16; see also, Nucor’s Rebuttal at 30-31 and Atlas’s
Rebuttal at 17-19.
33
     NEXTEEL v. United States, 355 F.Supp.3d 1336, 1349 (CIT 2019).
34
     Husteel, 426 F.Supp.3d at 1391-92.


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imports or that any electricity savings were passed through by the hot-rolled coil producers

to their downstream customers.

       As this Court has previously found, Commerce’s finding of a PMS involving Korean

hot-rolled coil prices lacks persuasive evidence on any of the four factors constitutes an

“evidentiary void” that cannot be filled simply by talismanically invoking the “totality of

the circumstances.”35 Neither Commerce, Defendant, nor Defendant-Intervenor have

offered any basis for the Court to reach a different result in this case.

       C.   Commerce’s Determination Ignored the Statutory Requirement
            that, before a PMS Adjustment May Be Made, There Must Be
            a Finding that “the Cost of Materials and Fabrication or
            Other Processing of Any Kind Does Not Accurately Reflect
            the Cost of Production in the Ordinary Course of Trade”

       As mentioned, the statutory provisions concerning the calculation of constructed

value authorize an adjustment when “a particular market situation exists such that the cost

of materials and fabrication or other processing of any kind does not accurately reflect the

cost of production in the ordinary course of trade.”36 By its terms, that language does not

permit an adjustment to constructed value for generalized “distortions” in input prices.

Instead, an adjustment is permitted only when the distortions result in a situation in which

35
     As the Court has explained,
            The court also rejects Wheatland’s contention that under a totality of
            the circumstances approach, Commerce can demonstrate the existence
            of a particular market situation based upon the combination of Korean
            hot-rolled coil subsidies, imports from China, strategic alliances, and
            electricity pricing interference, even though there is a lack of
            persuasive evidence to support any one of these allegations. … Not
            even their collective impact can fill the evidentiary void that has
            plagued Commerce’s particular market situation finding through the
            OCTG reviews and now this review.
Hyundai Steel v. United States, 415 F.Supp.3d 1293, 1300 (CIT 2019) (emphasis added).
36
     19 U.S.C. § 1677b(e) (emphasis added).


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the cost of the inputs “does not accurately reflect the cost of production in the ordinary

course of trade.”

       As discussed in our initial brief, Commerce’s determination in this review found that

prices for hot-rolled coils were distorted. However, it made no finding whether those

distorted prices accurately reflected the cost of production for hot-rolled coils in the

ordinary course of trade. It made no finding whether the individual prices paid by HiSteel

and Kukje for hot-rolled coils were below the cost of production of those coils. And, it

made no finding as to whether the Korean prices for hot-rolled coils in general were below

the cost of production of those coils. Instead, Commerce simply ignored the explicit

statutory language requiring some finding that the input prices did “not accurately reflect

the cost of production in the ordinary course of trade” before an adjustment to constructed

value would be permitted. As a result, even if Commerce’s finding that prices were

“distorted” had been supported by substantial evidence, its decision to adjust the costs for

HiSteel and Kukje would still have been contrary to the statutory requirements.

       Defendant suggests that Commerce is not required to determine whether prices for the

product for which a PMS has been alleged reflect the cost of producing that product

because “the plain language of the statute does not require Commerce to analyze whether

individual costs are in the ordinary course of trade” 37 and”{i}f a market is distorted as a

whole, it would be illogical to conclude that one company operating in that particular

market is insulated from the market distortions with respect to costs.” 38 As explained

below, however, neither of these arguments relieves Commerce from the statutory


37
     Defendant’s Rebuttal at 18.
38
     Id.


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requirement to determine whether HRC prices accurately reflected the cost of production

of HRC in the ordinary course of trade before a PMS adjustment to Plaintiffs’ costs.

       Defendant asserts that Commerce’s determination should nevertheless be affirmed

because the “the plain language of the statute does not require Commerce to analyze

whether individual costs are in the ordinary course of trade” 39 In this regard, Defendant

argues that, “{i}f a market is distorted as a whole, it would be illogical to conclude that one

company operating in that particular market is insulated from the market distortions with

respect to costs.”

       In our view, Defendant’s proposed interpretation cannot be reconciled with the

language of the statute.40 But the Court need not resolve that issue. Whether the statute

requires an individualized analysis for each respondent or instead permits an overall

analysis of the market as a whole, a finding that a market is “distorted” is not, by itself,

sufficient to trigger the statutory authority to adjust constructed value. Instead, the statute

only permits an adjustment to constructed value when there is a finding that a “particular

market situation exists such that” the price for the input in question “does not accurately

reflect the cost of production in the ordinary course of trade.” This language clearly


39
     Id.
40
  Paragraph (1) of the constructed-value provision (19 U.S.C. § 1677b(e)) refers to the
“cost of materials and fabrication or other processing of any kind employed in producing
the merchandise.” We are not aware of any case involving a market-economy producer in
which Commerce has argued that constructed value should be based on the “cost of
materials and fabrication or other processing of any kind” for someone other than the
actual producer of the merchandise. And, the addenda to the constructed value provision
permitting an adjustment for a “particular market situation” states specifically that the
adjustment is made “{f}or purposes of paragraph (1) …” It is clear, therefore, that the
analysis of the effect of the “particular market situation” on costs must be made for the
same costs identified in paragraph (1) of 19 U.S.C. § 1677b(e) — which are the costs
incurred by the actual producer to produce the specific merchandise under examination.


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contemplates that there may be “particular market situations” for which no adjustment is

permitted (because, notwithstanding the PMS, the input prices do reflect the cost of

production of the input in the ordinary course of trade). In order to adjust constructed

value under the statute, Commerce must first find (on some basis) that the prices for the

inputs did not reflect their cost of production. Since Commerce made no finding on that

issue (either on an individualized or overall basis), it failed to satisfy the statutory

requirement and its determination cannot be upheld.

     D.     Commerce’s Regression-Based PMS
            Adjustment Is Not Reasonable or
            Consistent with Substantial Evidence

          1. The Weight of the Evidence Confirms that the
             Regression Model Used by Commerce Was Not a
             Reasonable Application of Econometric Analysis

     Commerce’s calculation of the adjustment to the reported costs for HiSteel and Kukje

was based on the application of a regression model which purported to identify the

relationship between “uneconomic steel capacity” and hot-rolled coil prices. As noted in

our initial brief, the record in this case includes a report by Michael Northeim, an expert in

data analytics, addressing the regression model relied upon by Commerce. Mr. Northeim’s

report concluded (1) that the regression model used by Commerce “does not generate

stable results,” (2) that the specific model used by Commerce was “an outlier” among the

observed set of unstable estimates, and (3) that the model therefore lacked “predictive

power.”41




41
  See, e.g., Michael Northeim, “Investigating the Validity of OLS For Predicting AUV:
2008 – 2017 Korea Import AUV,” at 11 (provided in Appendix 9 of HiSteel’s June 24,
2020, Submission) (hereinafter, “Northeim Report”) (PR-391-394, CR-210-214).


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       In response, Defendant asserts that this expert report is not “dispositive” because

Commerce “relied on its own extensive expertise and conducted an independent

assessment.”42 However, that argument misrepresents the standard of review and,

furthermore, is unsupported by any evidence on the record.

       As the Court is undoubtedly aware, an expert opinion is never “dispositive” on its

own. Instead, an “expert opinion” is evidence relevant to the assessment of factual

issues.43 And, in evaluating whether a determination is supported by substantial evidence,

the expert opinion must be weighed, as evidence, against the competing evidence on the

record.44

       In this case, Commerce was faced with a factual issue — in particular, whether the

regression model proposed by Wiley Rein on behalf of petitioners could properly be used

to estimate what hot-rolled coil prices would have been in the absence of the alleged

excess global steel production capacity. Commerce had before it a report from

Mr. Northeim explaining why Wiley Rein’s model was not suitable for that purpose. That

report also established Mr. Northeim’s credentials as an expert on issues of data analysis.

Beyond that, there was no factual information on the record suggesting that Mr. Northeim

might be wrong.45 In such circumstances, the only evidence on the record was


42
     See Defendant’s Rebuttal at 25.
43
  See, e.g., PSC VSMPO–Avisma Corp. v. United States, 688 F.3d 751, 760–61
(Fed.Cir.2012) (internal quotations omitted).
44
  See, e.g., Universal Camera Corp. v. National Labor Relations Board, 340 U.S. 474,
488 (1951) (“The substantiality of evidence must fairly take into account whatever in the
record detracts from its weight.”).
45
  To the contrary, there was evidence that Mr. Northeim’s concerns about the instability of
the results generated by petitioners’ regression model was supported by academic materials
included in the record. See T. Mills, ANALYSING ECONOMIC DATA: A CONCISE
                                                            (footnote continued on following page)

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Mr. Northeim’s report. Commerce’s insistence on relying on Wiley Rein’s model in the

face of that unrefuted evidence was unlawful.

     Defendant asserts that Commerce was permitted to disregard Mr. Northeim’s expert

opinion and instead rely on its own expertise. But there is no evidence on the record, and

no reason to believe, that the Enforcement and Compliance agency within Commerce has

any expertise in the use of regression models to prediction hypothetical steel prices under

counterfactual assumptions regarding steel capacity utilization. It may well be that the

Enforcement and Compliance agency can be presumed to be an expert in the legal and

accounting issues that arise in connection with its administration of the antidumping

statute. But nothing in the antidumping statute mandates the use of a regression analysis to

predict steel prices. And, before 2018, when Wiley Rein first proposed that a regression

model be used to calculate a PMS adjustment,46 Enforcement and Compliance had never

(to the best of our knowledge) employed a similar analysis for any purpose in any case.

     Significantly, the record does not contain any memorandum or other supporting

documents from any Commerce officials that claim to have expertise in matters of data

analysis addressing the concerns raised by the Northeim report. The only document

discussing issues relating to the regression model is Commerce’s final decision



(footnote continued from previous page)
INTRODUCTION (2013), at 244 (provided in Appendix 10-F of HiSteel’s June 24, 2020,
submission) (“An implicit assumption in all regression models is that their coefficients
remain constant across all observations. Particularly with time series data, this may not
necessarily be the case, since coefficients can ‘evolve’ through time, or indeed alter
abruptly at a point in time, in many different ways. This is known as the problem of
structural change, which has a tendency to pervade many attempts at modelling economic
data.”) (PR-391-394, CR-210-214).
46
  See Large Diameter Welded Pipe from Korea, 84 Fed. Reg. 6374 (Feb. 27, 2019), and
accompanying I&D Memo at Comment 2.


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memorandum prepared by the Deputy Assistant Secretary and approved by the Assistant

Secretary for Enforcement and Compliance. Significantly, that memorandum does not

even address the fact that the regression model proposed by petitioners fails validation

because it generates unstable results, even though that issue was expressly raised in at least

one respondent’s case brief.47 In such circumstances, Defendant’s claims that Commerce

evaluated Mr. Northeim’s concerns and that Commerce rejected those concerns based on

Commerce’s own expertise is unsupported by the record.

          2. Defendant’s Assertion that Respondents’ Failed to “Provide
             Detailed Regression Results” Demonstrating the Instability
             of Petitioners’ Regression Model Is Not Supported by the
             Record or by the Commerce Determination They Cite

     As a fundamental matter, the regression model adopted by Commerce is based on the

premise that there is a consistent relationship between steel prices and the purported

“explanatory” variables (such as uneconomic capacity and iron ore prices). After all, if

those relationships are not stable, it is not possible to use them to predict how prices would

have reacted to changes in the explanatory variable, because there would be no basis for

assuming that the relationships that existed in the past correctly described the relationships

that exist in the present.

     In this case, the data demonstrates conclusively that the relationships between steel

prices and the purported “explanatory” variables were not stable over time. Instead, the

coefficients for key variables in the model (such as Uneconomic Capacity and Iron Ore)

vary both in magnitude and in sign when calculated for different time-periods. In our

initial brief, we provided the following summary of the variations in the coefficients for


47
  See HiSteel’s January 8, 2020, Case Brief at 32-33 (provided in Appendix 1 of HiSteel’s
June 24, 2020, Submission) (PR-391-394, CR-210-214).


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two key variables — uneconomic capacity and iron ore prices — when analyzed over

different time periods.48


                                          Uneconomic          Iron Ore
                            Regression
                                            Capacity            Price
                              Period
                                           Coefficient       Coefficient
                             2008-12
                             2009-13
                             2010-14
                             2011-15
                             2012-16
                             2013-17



       According to these results, when Wiley Rein’s model is run using the data for the

2008-to-2012 and 2009-2013 periods, the coefficients indicate that a small increase in

capacity utilization would have massively increased steel prices, while a small increase in

iron ore prices would have massively reduced steel prices. By contrast, when Wiley

Rein’s model is run using the data for the 2010-to-2014 and 2011-2015 periods, the

coefficients indicate that a small increase in capacity utilization would have slightly

reduced steel prices, while a small increase in iron ore prices would have resulted in a

slight increase in reduced steel prices. And, when Wiley Rein’s model is run using the

data for the 2012-to-2016 and 2013-2017 periods, the coefficients indicate that a small

increase in capacity utilization or iron ore prices would result in a slight increase in steel

prices.

       Defendant attempts to wave away these problems by claiming that “Commerce

determined that HiSteel and Kukje did not provide detailed regression results to




48
     See Northeim Report at 11 (PR391-394, CR210-214).


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meaningfully substantiate its ‘analysis.’” 49 That claim is false: Although Defendant

asserts that Commerce made such a finding on pages 36 to 37 of its final “issues and

decision memorandum,” nothing on those pages even addresses our arguments about the

instability of the regression results over shorter time periods. And, contrary to Defendant’s

claim, detailed regression results for each of the time periods were provided in the

Northeim report.50 Obviously, Defendant’s reliance on falsehoods to justify Commerce’s

failure to address a fundamental flaw in Commerce’s analysis does not provide any basis

for upholding Commerce’s decision.

           3. Commerce Improperly Based Its Adjustment on Estimated
              Counterfactual Prices for 2017, Even though Two-Thirds
              of the Review Period Fell within 2018, when the
              Estimated Counterfactual Prices Were Much Lower

       As noted in our initial brief, Commerce’s calculation of the PMS adjustment was

based on the difference between actual steel prices (as measured by average unit import

values) for calendar year 2017 and Commerce’s estimates of what 2017 prices would have

been at a counterfactual level of global capacity utilization. Commerce had all of the

information needed to estimate what 2018 prices would have been using the same

regression model and regression results. However, Commerce chose not to use the

difference between actual 2018 prices and the estimated counterfactual 2018 prices in

calculating the adjustment, even though eight of the 12 months of the review period fell

within 2018.




49
     See Defendant’s Rebuttal at 28.
50
  See Northeim Report at 7-12 (reporting detailed regression results for 2008-12, 2009-13,
2010-14, 2011-15, 2012-16, and 2013-17 periods) (PR391-394, CR210-214).


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       Defendant attempts to excuse Commerce’s failure to consider two-thirds of the review

period because it claims that steel purchased in 2018 might have been used after the review

period, and thus not relate to the cost of producing HWR during the review period. 51 But

that logic cuts even more against the “2017-only” analysis used by Commerce. Given that

the review period covered only the last four months of 2017, the vast majority of the steel

purchased by HiSteel and Kukje in 2017 would have been consumed prior to the start of

the review period.52

       Defendant also asserts that Commerce properly excluded 2018 data from its

regression analysis because regression analysis is “retrospective” in nature. 53 But that

claim conflates the data used to generate regression coefficients with the time period for

which an estimate was to be prepared. As a mathematical matter, it is entirely possible to

generate regression coefficients by analyzing data that only extends to 2017, but then to

use those coefficients to predict what 2018 prices would be. Of course, if the coefficients

are stable over time, it should not matter whether data ending in 2017 or 2018 is used to

generate them. And, if the coefficients are not stable over time, there is no reason to

expect that coefficients derived for a period ending in 2017 would accurately predict steel


51
     See Defendant’s Rebuttal at 29.
52
   In this regard, it should be noted that the information on the record indicates that HiSteel
held, on average, enough hot-rolled coil in inventory to supply less than one month of
production. See HiSteel’s February 27, 2019, Section D Response, Appendix D-3-A
(reporting average hot-rolled coil inventory of [       ] metric tons and average
consumption of [         ] metric tons per month) (PR-35-37, CR-11-15). Thus, steel
purchased by HiSteel between January and July of 2017 would have been used up by the
end of August 2017. See also Kukje’s July 9, 2019, Section D Supplemental Response,
Appendix SD-1 (reporting average hot-rolled coil inventory of [          ] metric tons and
average consumption of [          ] metric tons per month) (PR-288, CR-158).
53
     See Defendant’s Rebuttal at 29.


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prices for a review period covering eight months of 2018 (and only four months of 2017).

Commerce’s failure to consider the estimated prices for 2018 (and the extent to which its

regression model could reasonably predict those prices) further demonstrates the

fundamental illogic of Commerce’s methodology.

         4. Commerce’s Failed to Use the Most Accurate
            Regression Results to Calculate the PMS Adjustment

     Under the antidumping statute, Commerce’s fundamental obligation is to ensure that

its “establishes antidumping margins as accurately as possible.” 54 Consequently, to the

extent that Commerce was permitted to rely on a regression analysis to calculate a PMS

adjustment in this case, Commerce was required to select a model that generated the most

accurate results.

     As indicated in our initial brief, normal statistical measures indicate that the

coefficients generated by an analysis of the more recent periods — and, in particular, the

coefficients generated by analysis of the 2013-17 data — are more accurate than those

generated for the full ten-year 2008-17 period. 55 Accordingly, in the event that Commerce

is not prevented from relying on this regression model on remand, the goal of accuracy is

best served by using the data for the period from 2013 to 2017 in calculating its PMS

adjustment on remand.

     Defendant claims that Commerce should be permitted to rely on the less accurate

coefficients generated by analysis of the full ten-year 2008-17 period. According to

Defendant, the ten-year period is consistent with Commerce’s methodology in a review of

54
  See, e.g., Ningbo Dafa Chemical Fiber v. United States, 580 F.3d 1247, 1257 (Fed. Cir.
2009); Shakeproof v. United States, 268 F.3d 1376, 1382 (Fed. Cir. 2001).
55
  See HiSteel’s January 8, 2020, Case Brief at 34 (provided in Appendix 1 of HiSteel’s
June 24, 2020, Submission) (PR391-394, CR210-214).


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Circular Welded Pipe from India. In addition, Defendant claims (quoting Commerce) that

“a period of ten years allows for an adequate amount of data and ensures consistency of the

regression analysis from one proceeding to another.” Furthermore, Defendant also claims

(again quoting Commerce) that “ten years is ‘an appropriate length of time for

quantification of the effect of overcapacity on steel prices.” 56 And, finally, Defendant

asserts (quoting Commerce) that the ten-year period is needed to capture the effects of the

2008-09 financial crisis, which, it claims, “is the main event of interest in the analysis.” 57

According to Defendant, our suggestion that a more recent five-year period be used is

simply “cherry picking.”

       But none of these arguments addresses the core issue before Commerce, which is to

establish “antidumping margins as accurately as possible.” Consistency with the analysis

applied in a case involving a different product (Circular Welded Pipe) from a different

country (India) says nothing about the accuracy of Commerce’s methodology for

estimating what steel costs would be for Korea producers of HWR. Furthermore,

Commerce has not explained why the results provided by using ten years of data are more

accurate than the results provided by using only five years. As demonstrated above,

Commerce’s own model demonstrates that the relationship between steel prices and global

excess capacity was very different in 2008 and 2009 than it was in later years.

Consequently, as Mr. Northeim explained in his expert report, inclusion of 2008 and 2009

is more likely to distort the results than to improve them.




56
     See Defendant’s Rebuttal at 29.
57
     Id. at 30.


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     By the same token, Commerce’s assertion that the financial crisis of 2008 and 2009 is

“the main event of interest” misstates the relevant inquiry. Commerce was not tasked in

this case with predicting what prices would have been if that financial crisis had not

occurred. Instead, its task was to calculate dumping margins for the 2017-18 review

period as accurately as possible.

     As noted in our initial brief, the normal statistical tests used to measure the accuracy

of a regression model indicate that the coefficients calculated based on the five-year

2013-17 period are more accurate than the coefficients calculated based on the ten-year

2008-2017 data.58 Commerce’s final determination never addressed that evidence, and it

never attempted to explain why the normal statistical tests for accuracy would be

misleading in this case. In these circumstances, Commerce’s insistence on using

coefficients from the less accurate ten-year model cannot be sustained.




58
  See HiSteel’s January 8, 2020, Case Brief at 34 (provided in Appendix 1 of HiSteel’s
June 24, 2020, Submission) (PR391-394, CR210-214).


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                                       CONCLUSION

    For the foregoing reasons, we respectfully request that the Court grant Plaintiffs’

motion for judgment on the agency record, and remand this matter to Commerce for

disposition in a manner consistent with the judgment of this Court.


                                              Respectfully submitted,

                                              /s/Jeffrey M. Winton

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                                 Certificate of Compliance


     Pursuant to the Court’s “Standard Chambers Procedures,” I, Jeffrey M. Winton,
hereby certify that the word count function of the word-processing system used to prepare
the foregoing brief indicates that the brief contains 6,954 words including headings,
footnotes, and quotations, but not including the cover, caption, table of contents, table of
authorities, any addendum containing statutes, rules or regulations, any certificates of
counsel, and counsel’s signature block.



                                                /s/Jeffrey M. Winton



April 13, 2021
